Case t:21-cv-01514-GPG ‘Document 1 Filed 06/04/21 USDC Colorado Page 1 of 16

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

FILED

UNITED STATES DISTRICT COURT
DENVER, COLORADO

Civil Action No. JUN 04 2021

(To be supplied by thé court)
JEFFREY P. COLWELL
CLERK

 

Brctt avd Cr tw eha ST ___, Plaintiff

Avte mart Mit Wwe lh

Ste ph EP wards ,

 

 

, Defendant(s).

(List each named defendant on a separate line. If you cannot fit the names of all defendants in
the space provided, please write “see attached” in the space above and attach an additional
sheet of paper with the full list of names. The names of the defendants listed in the above
caption must be identical to those contained in Section B. Do not include addresses here.)

 

COMPLAINT

 

 

NOTICE
Federal Rule of Civil Procedure 5.2 addresses the privacy and security concerns resulting from
public access to electronic court files. Under this rule, papers filed with the court should not
contain: an individual’s full social security number or full birth date; the full name of a person
known to be a minor; or a complete financial account number. A filing may include only: the
last four digits of a social security number; the year of an individual’s birth; a minor’s initials;
and the last four digits of a financial account number.

Plaintiff need not send exhibits, affidavits, grievances, witness statements, or any other’
materials to the Clerk’s Office with this complaint.

 

 

 
Case 1:21-cev-01514;,GPG -Document1 Filed 06/04/21 USDC Colorado Page 2 of 16

A.. PLAINTIFF INFORMATION

You must notify the court of any changes to your addréss where case-related papers may be
served by filing a notice of change of address. Failure to keep a current address on file with the
court may result in dismissal of your case. - -
. ‘ UA t FEO,
hAtl 4a. Crawstha-t G76? East Coys, Ase
(Name and compléte mailing address) °

(220) 93-4213 6Rowwhert heltayG CcnGtl Com
(Telephone number and e-mail address) a“

4 ”

B. DEFENDANT(S) INFORMATION

‘Please list the following information for each defendant listed in the caption of the complaint. If
more space is needed, use extra paper to provide the information requested. Ti he additional — . ,
pages regarding defendants should be labeled “B. DEFENDANT(S) INFORMATION. ”

Defendant 1: _4vto “Mart ¢2% 6 Havewa St Avic~ ce, P6a/e
(Name and complete mailing address) . .

Boer 438-. ¥ 000 ww, Avie mart Mitsob: Shi, Con
(Telephone number and e-mail address if known)

Defendant 2: Sf 2f hed — E oS war AS | BEE S New ah St Are re.
‘ (Name and complete mailing address) . Co, ¥ pola.

B03 -YZS - Gooo EXP #2YCE Sed WarlS & Bets. mach Co},

(Télephone number and e-mail address if known)
: Com

Defendant 3:

 

(Name and complete mailing address)

:

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(Telephone number and e-mail address if known)

Defendant 4:

 

(Name and complete mailing address)

+

 

(Telephone numbér and e-mail address if known)

 
ext

Case 1:21-cv-01514-GPG Document 1 Filed 06/04/21 USDC Colorado Page 3 of 16

C.. JURISDICTION
Identify the statutory authority that allows the court to consider your claim(s): (check one)

im Federal question pursuant to 28 U.S.C. § 1331 (claims arising under the Constitution,
laws, or treaties of the United States)

List the specific federal statute, treaty, and/or provision(s) of the United States
Constitution that are at issue in this case.

 

 

 

Diversity of citizenship pursuant to 28 U.S.C. § 1332 (a matter between individual or
corporate citizens of different states and the amount in controversy exceeds $75,000)

 

Plaintiff is a citizen of the Stateof_ fzso 74 qa
If Defendant 1 is an individual, Defendant | is acitizen of Uwike d Stakes

If Defendant 1 is a corporation,

Defendant 1 is incorporated under the laws of AVA» art (name of
state or foreign nation). 0% Coejevave

Defendant 1 has its principal place of business in_¢¢ /-45° (name of
-state or foreign nation). cpjera de

(if more than one defendant is named in the complaint, attach an additional page
providing the same information for each additional defendant.)
3)

Case 1:21-cv-01514-GPG Document 1 . Filed 06/04/21 USDC Colorado Page 4 of 16 .

D. STATEMENT OF CLAIM(S)

State clearly and concisely every claim that you are asserting in this action. For each claim,

_ specify the right that allegedly has been violated and state all facts that support your claim,
including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person was involved in each
claim. You do not need to cite specific legal cases to support your claim(s). If additional space
is needed to describe any claim or to assert additional claims, use extra paper to continue that
claim or to assert the additional claim(s). Please indicate that additional paper is attached and
label the additional pages regarding the statement of claims as “D: STATEMENT OF CLAIMS.”

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CLAIM TWO: O4.4¢24 fe fused To etn d Outs timer’? Mow ey

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Case 1:21-cv-01514-GPG Document 1 Filed 06/04/21 USDC Colorado Page 7 of 16

E. REQUEST FOR RELIEF

State the relief you aré requesting or what you want the court to do. If additional space is needéd
to identify the relief you are requesting,.use extra paper to request relief. Please indicate that
additional paper is attached and label the additional pages regarding relief as “E. REQUEST

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F. PLAINTIFF'S SIGNATURE AYrawtnasa: o¢ custom “© BAG t ran y¥
CLOWN NAL, ,
I declare under penalty of perjury that I am the plaintiff in this action, that I have read this
complaint, and that the information in this complaint is true and correct. See'28 U.S.C. § 1746;
18 U.S.C. § 1621.

Under Federal Rule of Civil Procedure 11, by signing below, I also certify to the best of my
knowledge, information, and belief that this complaint: (1) is not being presented for an. improper
purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
(2) is supported by existing law or by a nonfrivolous argument for extending or modifying
existing law; (3) the factual contentions have evidentiary support or, if specifically so identified,
will likely have evidentiary support after a reasonable opportunity for further investigation or
discovery; and (4) the complaint otherwise complies with the requirements of Rule 11.

Bret FOws Chow ae

(Plaintiff's signature) '

G/2 7 LOL

(Date)

 

 

(Revised December 2017)
~ Case 1:21-cv-01514-GPG Document1 Filed°06/04/21 USDC Colorado Page 8 of 16

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Merchant a en 8 |
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Thank yuu for your business!
Case ’ 1:21-cv-01514-GPG Document 1 = Filed 06/04/21 USDC Colorado _ Page 18 of 16

& - 2

 

POLICY NUMBER - NUMERO DE POLIZA INSURANCE COMPANY - COMPANIA DE SEGURO noe ”
60 389662924 - | YOUNG AMERICA INSURANCE COMPANY
Woo Oo * | 1-800-554-0595 | CLAIMS 1-800-880-0472
EXPIRATION DATE = FECHA EXPIRACION AGENT - AGENTE

10/13/21 . ' i FRED LOYA INSURANCE . 720 681-6990 -

 

 

This policy provides at least the minimum amounts of liability insurance required by the Colorado Compulsory Findncial Responsibility Law
for the specified vehicle and named insureds and may provide coverage for other persons and other vehicles as provided by the insurance policy.

 

NAME AND ADDRESS OF INSURED-NOMBRE Y DIRECCION DEL ASEGURADO | VEHICLE YEAR/MAKE/MODEL- ANO DE VEHICULO/MARCA/MODELO
- . 2010 HOND CIVIC 2HGFAIF53AHS561405

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ss

" 60/389662924 ° . " -
, BRITTANY M CROWNHART ~
9767 E COLORADO AVE
AURORA co 80247 ‘

COLORADO LIABILITY INSURANCE CARD (KEEP THIS CARD)

IMPORTANT: THIS CARD OR‘A COPY OF YOUR INSURANCE POLICY MUST BE SHOWN WHEN YOU APPLY FOR OR RENEW YOUR: MOTOR VEHICLE ,
REGISTRATION, DRIVER'S LICENSE, MOTOR VEHICLE SAFETY INSPECTION STICKER. YOU ALSO MAY BE ASKED TO SHOW THIS CARD OR YOUR
POLICY IF YOU HAVE AN ACCIDENT. OR IF A PEACE OFFICER ASKS TO SEE IT.

ALL DRIVERS IN COLORADO MUST CARRY LIABILITY-INSURANCE ON THEIR VEHICLES OR OTHERWISE LEGAL REQUIREMENTS FOR FINANCIAL
RESPONSIBILITY. FAILURE TO DO SO COULD RESULT IN SUSPENSION OF YOUR DRIVER'S LICENSE. . =

+

TARJETA DE SEGURO DE RESPONSABILIDAD DE COLORADO (GUARDE ESTA TARJETA)

IMPORTANTE: ESTA TARJETA 0 UNA COPIA DE SU POLIZA DE SEGURO DEBE SER MOSTRADA CUANDO USTED SOLICITE O RENUEVE SU: REGISTRO DE
VEHICULO DE MOTOR; LICENCIA PARA CONDUCIR; ETIQUETA DE INSPECCION DE SEGURIDAD PARA SU VEHICULO. PUEDE QUE USTED TENGA TAMBIEN
QUE MOSTRAR ESTA TARJETA O SU POLIZA DE SEGURO Si TIENE UN ACCIDENTE O Si UN OFICIAL DE LA PAZ SE LA PIDE. TODOS LOS CONDUCTORES
EN COLORADO DEBEN DE TENER SEGURO DE RESPONSABILIDAD PARA SUS VEHICULOS, O DE OTRA MANERA LLENAR LOS REQUISITOS LEGALES DE:
RESPONSABILIDAD CIVIL. NO CUMPLIR CON ESTE REQUISITO PUEDE RESULTAR EN SUSPENSION DE SU LICENCIA PARA CONDUCIR.

 

 

 

 

 

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_ Case 1:21-cv-01514-GPG Document 1 Filed 06/04/21 USDC Colorado Page 11 of 16

Ld ha La ee

 

5/10/21
Brittany Crownhart

9767 Colorado Avenue East Apt #607

Denver, CO 80247 ,

‘

Notice of our plan to sell property

Brittany Crownhart,

f Because you broke promises in our agreement, it is our intention to file for a repossessed title and
dispose of the collateral as follows; we will sell the 2010 Honda Civic
VIN#2HGFA1F53AH561405
At Auto-Mart Mitsubishi /Mile High Auto Finance.

1 The sale’will be held as Follows: ,

Place: Auto Mart Mitsubishi (ANY TIME AND DATE AFTER 5/20/21)

€

You can get the property back at any time within (10) days of the date of this letter by paying the full
amount you owe (not just the past due payments) including our expenses plus any unpaid balances.

a

res -To learn.the exact amount, you must call us at (303) 438 4000

You can also come in and pay at Auto Mart Mitsubishi.

If you have any questions regarding this seli please do not hesitate to call us at the number we provided
above or come in and speak with a collections specialist.

Thank You
Collections Agent -

Elena Holguin

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" ~ Case 1:21¢cv-01514-GPG Document1 Filed 06/04/21) USDC Colorado Page 12 of 16 -
CASH RECEIPT

 

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‘ Auto/Mate Dealership, Systems.

Page 1 of

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F i 303-438-4000 5
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‘Customer #===Fy 004247 ; F Date/Ti ined 04/13/2021 15:08:52 4 :
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‘Address .9767 COLORADO AVENUE E..APT #607 - Journal Source 7.05 ; a .
+ City,’ State, Zip DENVER, CO 80247 | Receipt #. 23351 ‘ .
Remarks: * dp . 7
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Case 1:21-cv-01514-GPG Document1 Filed 06/04/21 USDC Colorado Page 13 of 16

  

www. revenue. state. co.us

STATE OF COLORAD

‘Dealer’ s Bill of Sale for a Motor Vehicle

 

 

 

 

B35 § HAVANA ST

 

VEHICLE. IDENTIFICATION ‘NUMBER (VINY.

 

 

FUEL TYPE (CHECK ‘ONE

 

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DATE OF SALE

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|| _]° tHe ovoMeTER READING IS NOT THE ACTUAL MILEAGE: WARNING

JN:FINES:-AND/OR IMPRISONMENT.

ODOMETER DISCREPANCY

FEDERAL LAW REQUIRES THAT YOU STATE THE ODOMETER MILEAGE UPON TRANSFER OF OWNERSHIP, FAILURE TO COMPLETE OR
PROVIDING. A FALSE :STATEMENT.MAY RESUL

 

DEALER AFFIRMS, UNDER PENALTY OF PERJURY, THAT THE ABOVE FACTS ARE TRUE AND
_ | CORRECT.TO THE BEST,OF THEIR.KNOWLEDGE. BUYER'S SIGNATURE BELOW. ACKNOWLEDGES...
TRANSFER:OF- OWNERSHIP AND RECEIPT. OF F ODOMETER ‘STATEMENT “5 o>) to

 

DATE OF STATEMENT

W4/08/e0E t

 

 

 

 

9767 COLORADO AVENUE E. apt ls

 

 

AUCTION.NAME (when applicable))

 

 

 

 

 

 

 

 
    
   
 
 

 
  
Case 1:21-cv-01514-GPG Document1 Filed 06/04/21 USDC Colorado Page 14 of 16

 

 

BUYERS GUIDE

IMPORTANT: Spoken promises are difficult to enforce. Ask the dealer to put all promises in writing. Keep this form.

 

 

HONDA CIVIC LX 2010 2HGFAILF53AH561405
VEHICLE MAKE MODEL YEAR VEHICLE IDENTIFICATION NUMBER (VIN)
WARRANTIES FOR THIS VEHICLE: Stock # 21-004

 

/| AS IS - NO DEALER WARRANTY

THE DEALER DOES NOT PROVIDE A WARRANTY FOR ANY REPAIRS AFTER SALE.

DEALER WARRANTY

[1 FULL WARRANTY.

 

 

 

 

 

 

[J LIMITED WARRANTY, The dealer will pay___ %ofthelaborand___—% of the parts for the covered systems
that fail during the warranty period. Ask the dealer for a copy of the warranty, and for any documents that
explain warranty coverage, exclusions, and the dealer's repair obligations. Implied warranties under your
state's laws may give you additional rights.

SYSTEMS COVERED: DURATION:

NON-DEALER WARRANTIES FOR THIS VEHICLE:

[0 MANUFACTURER'S WARRANTY STILL APPLIES. The manufacturer's original warranty has not expired on some
components of the vehicle.

( MANUFACTURER’S USED VEHICLE WARRANTY APPLIES.
[J OTHER USED VEHICLE WARRANTY APPLIES.

 

Ask the dealer for a copy of the warranty document and an explanation of warranty coverage, exclusions, and repair
obligations.

 

[7 SERVICE CONTRACT. A service contract on this vehicle is available for an extra charge. Ask for details about
coverage, deductible, price, and exclusions. If you buy a service contract within 90 days of your purchase of this
vehicle, implied warranties under your state’s laws may give you additional rights.

 

ASK THE DEALER IF YOUR MECHANIC CAN INSPECT THE VEHICLE ON OR OFF THE LOT.

OBTAIN A VEHICLE HISTORY REPORT AND CHECK FOR OPEN SAFETY RECALLS. For information on
how to obtain a vehicle history report, visit ftc.gov/usedcars. To check for open safety recalls, visit safercar.gov.
You will need the vehicle identification number (VIN) shown above to make the best use of the resources on
these sites.

SEE OTHER SIDE for important additional information, including a list of major defects that may occur in
used motor vehicles.

Si el concesionario gestiona la venta en espafiol, pidale una copia de la Guia del Comprador en espafol.

 

 
 

 

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Case 1:21-cv-01514-GPG Document 1 Filed 06/04/21 USDC Colorado Page 16 of 16

 
